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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


United States of America,

       Plaintiff,

v.                                           Case No. 09-20215

Solomon Nathaniel,                           Honorable Sean F. Cox

       Defendant.

_________________________________/

                       OPINION & ORDER DENYING
          DEFENDANT’S MOTION FOR BOND/RELEASE PENDING TRIAL

                                       INTRODUCTION

       This matter is before the Court on Defendant Solomon Nathaniel’s appeal of an order of

detention pending trial pursuant to 18 U.S.C. § 3142. Defendant Solomon Nathaniel

(“Nathaniel”) appeared before this Court on August 21, 2009, for a hearing on this matter. At

that time, the Court heard oral argument from the Government and Nathaniel’s counsel. The

Court has also reviewed the transcript of the June 25, 2009 detention hearing before Magistrate

Judge Scheer and the Pretrial Services Report. For the reasons set forth below, the Court shall

DENY Defendant’s Motion for Bond/Release Pending Trial.

                                        BACKGROUND

       On June 24, 2009, a grand jury in this district indicted Nathaniel, charging him with one

count of Health Care Fraud Conspiracy, in violation of 18 U.S.C. § 1349, and multiple counts of

Health Care Fraud in violation of 18 U.S.C. §§ 1347.


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        On June 25, 2009, Magistrate Judge Donald Scheer held a detention hearing. The

transcript of the June 25, 2009 detention hearing appears in the docket as Docket Entry No. 121

(“the Hearing Transcript”). The Hearing Transcript reflects that both parties proceeded by way

of proffer.

        After the hearing, Magistrate Judge Scheer issued an “Order of Detention Pending Trial”

(Docket Entry No. 23), wherein he found that the Government established, by a preponderance

of the evidence, that there is a serious risk that Nathaniel will not appear for trial. (Id.).

        A person ordered detained by a magistrate judge may file, with the Court having original

jurisdiction over the case, a motion for revocation or amendment of that order. 18 U.S.C. §

3145(b). On August 3, 2009, Nathaniel filed the instant “Motion for Bond/Release Pending

Trial” wherein he asks this Court to grant him release on bond pending trial. The Government

filed a response in opposition to Nathaniel’s motion on August 17, 2009.

        After having reviewed the Hearing Transcript, the Pretrial Services Report, and the

parties’ briefs, this Court heard oral argument by counsel on August 21, 2009.

                                             ANALYSIS

        This Court reviews a defendant’s appeal of an order of detention de novo. U.S. v. Leon,

766 F.2d 77 (2d Cir. 1985); see also U.S. v. Koubriti, 2001 WL 1525270 (E.D. Mich. 2001)

(Although the Sixth Circuit has not squarely addressed the issue of the proper standard of review

of a Magistrate Judge’s detention order, the majority of the circuits that have considered the

issue have ruled that a de novo review is appropriate); U.S. v. Runnderstand, 2008 WL 927774

(E.D. Mich. 2008).

        A criminal defendant may be detained pending trial if a judicial officer determines that


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there is “no condition or combination of conditions [that] will reasonably assure the appearance

of the person as required and the safety of any other person and the community . . .” 18 U.S.C. §

3142(e). “[I]n determining whether there are conditions of release that will reasonably assure

the appearance of the person as required and the safety of any other person and the community,”

the Court shall “take into account the available information” concerning the various factors

enumerated in § 3142(g), which include:

       1)      the nature and circumstances of the offenses charged (§3142(g)(1));

       2)      the weight of the evidence against the person (§3142(g)(2));

       3)      the history and characteristics of the person, including: a) the person’s character,
               physical and mental condition, family ties, employment, financial resources,
               length of residence in the community, community ties, past conduct, history
               relating to drug or alcohol abuse, criminal history, and record concerning appear
               at court proceedings and b) whether, at the time of the current offense or arrest,
               the person was on probation, on parole, or on other release pending trial,
               sentencing, appeal, or completion of sentence for an offense under Federal, State,
               or local law (§3142(g)(3)); and

       4)      the nature and seriousness of the danger to any person the community that would
               be posed by the person’s release (§3142(g)(4)).

       After considering the record in light of the above factors, as explained below, this Court

concludes that the Government has established by a preponderance of the evidence that there is a

serious risk that Nathaniel will not appear for trial. This Court further finds that, based upon the

credible testimony and information submitted at the June 25, 2009 detention hearing and the

August 21, 2009 hearing before this Court, Nathaniel should be detained pending trial because

there is no condition or combination of conditions that will reasonably assure his appearance.

       While Nathaniel has no prior criminal history, the charges in the indictment in this case

are very serious. Nathaniel is charged with one count of Health Care Fraud Conspiracy, in


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violation of 18 U.S.C. § 1349 and multiple counts of Health Care Fraud in violation of 18 U.S.C.

§§ 1347 and 2. Nathaniel is accused of participating in an $18.3 million dollar conspiracy to

defraud the Medicare program. In the event that he is convicted, the Government tentatively

calculates his total offense level under the United States Sentencing Guidelines at a 30, which

has a guideline range of 97-121 months imprisonment.

       Moreover, the weight of the evidence against Nathaniel is significant. The Government

states that multiple patients who have been interviewed by federal agents will testify at trial that

they were not treated by Mr. Nathaniel, and yet Mr. Nathaniel signed forms indicating that he

had treated them. Multiple witnesses have identified Mr. Nathaniel as signing files, in some

cases “stacks of files,” for Co-Defendant Suresh Chand.

       Nathaniel’s history and characteristics also cause this Court to conclude that pre-trial

detention is necessary. Notably, it is undisputed that Nathaniel has no lawful status in the United

States. He overstayed a temporary work visa and has no legal right to either work in or reside in

this country. He will certainly be deported if he is convicted in this action and, as the

Government notes, he could be deported even if he is not convicted. Indeed, at the August 21,

2009 hearing, counsel advised the Court that there is now an immigration hold.

       In addition, it is significant that three of the Co-Defendants in this case, Nathaniel’s

alleged co-conspirators, have fled the Country after meeting with law enforcement officials

regarding this case. The Government believes that Nathaniel’s alleged co-conspirators fled back

to Nathaniel’s home country of India. Although Nathaniel currently resides here with his wife

and three children, he also has substantial ties in India. He has a brother and sister that reside in

India. He is a citizen of India and possesses a passport from India. Nathaniel may also have


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fairly significant resources that could be used to flee the country. He indicated to Pretrial

Services that he has been earning $8,000.00 per month for the past five years, yet claims he has

no asserts. Thus, Nathaniel has motive, opportunity and means to flee the country.

                                    CONCLUSION & ORDER

       Having considered the factors set forth in § 3142(g), the Court concludes that the

Government has established by a preponderance of the evidence that there is a serious risk that

Nathaniel will not appear for trial and that he should be detained pending trial because there is

no condition or combination of conditions that will reasonably assure his appearance.

Accordingly, IT IS ORDERED that Nathaniel’s Motion for Bond/Release Pending Trial is

DENIED.

       IT IS SO ORDERED.


                                              S/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge

Dated: August 21, 2009

I hereby certify that a copy of the foregoing document was served upon counsel of record on
August 21, 2009, by electronic and/or ordinary mail.

                               S/Jennifer Hernandez
                               Case Manager




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